Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 1 of 34




                       EXHIBIT 1




                       EXHIBIT 1
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 2 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 3 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 4 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 5 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 6 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 7 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 8 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 9 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 10 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 11 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 12 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 13 of 34




                        EXHIBIT 2




                        EXHIBIT 2
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 14 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 15 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 16 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 17 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 18 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 19 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 20 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 21 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 22 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 23 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 24 of 34




                        EXHIBIT 3




                        EXHIBIT 3
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 25 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 26 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 27 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 28 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 29 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 30 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 31 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 32 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 33 of 34
Case 21-14978-abl   Doc 622-1   Entered 06/21/23 14:08:07   Page 34 of 34
